      Case 4:22-cv-00109-AW-MAF Document 102 Filed 05/19/22 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

 Common Cause Florida, FairDistricts
 Now, Florida State Conference of the
 National Association for the
 Advancement of Colored People                   Case No.: 4:22-cv-109-AW-MAF
 Branches, Dorothy Inman-Johnson,
 Brenda Holt, Leo R. Stoney, Myrna               STIPULATION AND
 Young, and Nancy Ratzan,                        [PROPOSED] ORDER
                          Plaintiffs,
             v.
 Ron DeSantis, in his official capacity as
 Governor of Florida, and Cord Byrd, in
 his official capacity as Florida Secretary
 of State,
                          Defendants.


       WHEREAS, on May 11, 2022, the Court granted the Plaintiffs’ motion to

amend their complaint (ECF No. 96).

       WHEREAS, the Plaintiffs’ First Amended Complaint was accepted and

deemed filed as of May 11, 2022 (ECF Nos. 96 and 97) and added Ron DeSantis,

in his official capacity as the Governor of Florida, as a defendant.

       WHEREAS, Laurel M. Lee resigned from the position of Florida Secretary

of State, effective May 16, 2022, and Defendant Ron DeSantis appointed Cord

Byrd as Florida Secretary of State.




13628179
      Case 4:22-cv-00109-AW-MAF Document 102 Filed 05/19/22 Page 2 of 4




       WHEREAS, counsel for Defendant Cord Byrd, in his official capacity as

Florida Secretary of State, agreed to accept service of the summons and First

Amended Complaint on behalf of Defendant Ron DeSantis, and has been served

with the summons and First Amended Complaint on his behalf.

       NOW, THEREFORE, IT IS STIPULATED AND AGREED, between

counsel for the Plaintiffs and Defendants, the following:


       1.    Defendant Ron DeSantis, in his official capacity as the Governor of

Florida, waives any objections that he may have had to the method by which he

was served in this Action and affirmatively submits to the jurisdiction of this Court.

       2.    Defendants shall have until June 8, 2022 to respond to the Amended

Complaint.


 /s/ Mohammad O. Jazil                 /s/Gregory L. Diskant
 Mohammad O. Jazil (FBN 72556)         Gregory L. Diskant (pro hac vice)
 mjazil@holtzmanvogel.com              H. Gregory Baker (pro hac vice)
 Gary V. Perko (FBN 855898)            Jonah M. Knobler (pro hac vice
 gperko@holtzmanvogel.com              forthcoming)
 Michael Beato (FBN 1017715)           Peter Shakro (pro hac vice
 mbeato@holtzmanvogel.com              forthcoming)
 zbennington@holtzmanvogel.com         Catherine J. Djang (pro hac vice)
 HOLTZMAN VOGEL BARAN                  Alvin Li (pro hac vice)
 TORCHINSKY & JOSEFIAK                 PATTERSON BELKNAP WEBB &
 119 S. Monroe St. Suite 500           TYLER LLP
 Tallahassee, FL 32301                 1133 Avenue of the Americas
 (850) 270-5938                        New York, NY 10036
                                       (212) 336-2000
 Jason Torchinsky (Va. BN 47481) (D.C. gldiskant@pbwt.com
 BN 976033)                            hbaker@pbwt.com


13628179
      Case 4:22-cv-00109-AW-MAF Document 102 Filed 05/19/22 Page 3 of 4




 jtorchinsky@holtzmanvogel.com         jknobler@pbwt.com
 HOLTZMAN VOGEL BARAN                  pshakro@pbwt.com
 TORCHINSKY & JOSEFIAK                 cdjang@pbwt.com
 15405 John Marshall Hwy Haymarket     ali@pbwt.com
 Prince William, VA 20169
 (540) 341-8808

 Bradley R. McVay (FBN 79034)          Katelin Kaiser (pro hac vice)
 brad.mcvay@dos.myflorida.com          Christopher Shenton (pro hac vice
 Ashley Davis (FBN 48032)              forthcoming)
 ashley.davis@dos.myflorida.com        Alexandra Wolfson (pro hac vice
 FLORIDA DEPARTMENT OF STATE           forthcoming)
 R.A. Gray Building 500 S. Bronough    SOUTHERN COALITION FOR
 St. Tallahassee, FL 32399             SOCIAL JUSTICE
 (850) 245-6536                        1415 West Highway 54, Suite 101
                                       Durham, NC 27707
                                       (919) 323-3380
                                       katelin@scsj.org
                                       chrisshenton@scsj.org
                                       alexandra@scsj.org



 Joshua E. Pratt (FBN 119347)          Janette Louard (pro hac vice
 joshua.pratt@eog.myflorida.com        forthcoming)
 Nicholas John Peter Meros (FBN        Anthony P. Ashton (pro hac vice
 120270)                               forthcoming)
 nicholas.meros@eog.myflorida.com      Anna Kathryn Barnes (pro hac vice
 EXECUTIVE OFFICE OF THE               forthcoming)
 GOVERNOR                              NAACP
 400 S. Monroe St.                     OFFICE OF THE GENERAL
 Tallahassee, FL 32399                 COUNSEL
 (850) 717-9310                        4805 Mount Hope Drive
                                       Baltimore, MD 21215
 Attorneys for Defendants              (410) 580-5777
                                       jlouard@naacpnet.org
                                       aashton@naacpnet.org
                                       abarnes@naacpnet.org




13628179
      Case 4:22-cv-00109-AW-MAF Document 102 Filed 05/19/22 Page 4 of 4




                                       Henry M. Coxe III (FBN 0155193)
                                       Michael E. Lockamy (FBN 69626)
                                       BEDELL, DITTMAR, DeVAULT,
                                       PILLANS & COXE
                                       The Bedell Building
                                       101 East Adams Street
                                       Jacksonville, Florida 32202
                                       (904) 353-0211
                                       hmc@bedellfirm.com
                                       mel@bedellfirm.com

                                       Attorneys for Plaintiffs


SO ORDERED




________________________________




13628179
